        Case 1:23-cr-00490-SHS                Document 644           Filed 11/27/24         Page 1 of 5




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November 27, 2024
Via ECF
The Honorable Sidney H. Stein
United States District Judge
United States Courthouse
500 Pearl Street
New York, New York 10007

                 Re:      United States v. Menendez, et al., 23 Cr. 490 (SHS)
                          Daibes Letter Motion Re: Improper Evidence Before Jury

Dear Judge Stein,
We submit this letter-motion in response to the government’s November 13, 2024 letter, in
which it advised and admitted to the Court that portions of evidence that this Court had excluded
as violative of Senator Menendez’s Speech and Debate protections was nonetheless submitted to
the jury. The improper portions provided to and likely viewed by the jury was, as the
government characterized it, “critical” evidence of a bribery scheme involving Senator
Menendez and Messrs. Daibes and Hana regarding Egypt. The circumstances of how this
improper evidence was provided to the jury, while important, are almost irrelevant and distract
from the central and undeniable conclusion that the jury had improper evidence before it and
presumably reviewed that underlying evidence, as was its obligation. The government has asked
the Court to draw the conclusion, without any convincing support, that the jury did not review
the improper evidence over the more than two days it was deliberating, but instead relied upon
the government’s summary charts. The Court should reject this assumption and conclude that,
without some credible and reliable evidence of that assumption, this evidence was improperly
before the Court and reviewed by the trial jury.1
Additionally, and more troubling as it relates to Mr. Daibes, is an additional piece of evidence
improperly before the jury during its deliberations not mentioned in the government’s letter. It


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 To avoid lengthy and duplicative briefing on these issues, Mr. Daibes joins in the arguments of Senator Menendez
and Mr. Hana on these issues and submits this letter-brief to highlight the issues most central and relevant to Mr.
Daibes.
       Case 1:23-cr-00490-SHS           Document 644         Filed 11/27/24      Page 2 of 5




appears that the government also improperly loaded to the jury’s laptop an exhibit associated
with Mr. Daibes that referenced Adolf Hitler which should also have been redacted.
Accordingly, this Court should conclude that the government’s errors deprived Mr. Daibes of a
fair trial, vacate his conviction, and grant him a new trial in which the jury will receive and
review only the evidence that was properly admitted by the Court.
In all criminal cases, all defendants are afforded due process. As the Supreme Court has stated,
“due process means a jury capable and willing to decide the case solely on the evidence before
it.” Smith v. Phillips, 455 U.S. 209, 217, 71 L. Ed. 2d 78, 102 S. Ct. 940 (1982). If a jury is
shown evidence that was not admitted at trial, when determining if a new trial is warranted,
courts must “start with a presumption of prejudice from a jury's exposure to extra-record
evidence.” United States v. Al-Farekh, 810 F. App'x 21, 26 (2d Cir. 2020) (internal citations
omitted). The government may rebut this presumption by “showing that the extra-record
information was harmless.” United States v. Farhane, 634 F.3d 127, 168 (2d Cir. 2011)
(quotation marks omitted). When considering whether the extra-record information was
harmless, the Court must consider the “(1) the nature of the information or contact at issue, and
(2) its probable effect on a hypothetical average jury.” Id. at 169.
I.     A Tenth Exhibit Was Improperly Before the Jury and Prejudiced Mr. Daibes
Based on our comparison of the files the government has said it loaded to the jury’s laptop
versus our copies of the admitted trial exhibits, it appears that the government also improperly
loaded to the jury’s laptop an unredacted version of Government Exhibit 3D-1, which contained
a reference to Adolf Hitler. The exhibit is a text message thread in which Mr. Daibes makes
reference to sending an article regarding the “Hitler car” to one of the Qataris. The admitted
version of Government Exhibit 3D-1 redacted the obviously prejudicial reference to Hitler,
however, the government loaded onto the jury’s laptop the unredacted version of that text thread.
This incredibly prejudicial reference to Hitler in Government Exhibit 3D-1 that was before the
jury and we should presume it reviewed, was unquestionably prejudicial to Mr. Daibes and alone
warrants a new trial. The jury, upon reviewing that email would have certainly been shocked
and worse, would have reviewed that text thread without knowing the truth behind that reference
– Mr. Daibes had purchased an antique Mercedes Benz that he was going to refurbish and that,
upon inspection by mechanics and some internet research, was believed to be commissioned by
Adolf Hitler himself or utilized by his generals. The car was sent to Mercedes Benz
headquarters for review, authentication, and work where it remains today.
The prejudice to Mr. Daibes could not be more obvious. A Palestinian-born American citizen,
conversing with an Arab, and making reference to Adolf Hitler would certainly lead a
contemporary jury to question his character. Presumably, the government’s response to this
critical error will again be that the Court should presume, without any evidence, that the jury did
not review any of the underlying exhibits and instead only relied upon the government’s
summary chart that did not include the reference to Adolf Hitler. However, as was made clear
by the Court several times to the government and the jury, the government was simply
highlighting, through the use of its summary charts, certain evidence. However, all the evidence
would be presented to it during deliberations in order for it to review and fulfill its obligations to
fairly try the case and render a fair and impartial verdict. See Trial Transcript in United States v.


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       Case 1:23-cr-00490-SHS           Document 644         Filed 11/27/24       Page 3 of 5




Menendez, et al., 23 Cr. 490 (SHS) (“TT”) at 1279. Here the Court stated to the parties
regarding the government’s presentation of its evidence via summary charts:
       I don't disagree with that, but I think there's some merit to Mr. Weitzman's point
       to the extent that you have him read aloud both the document sent to him and then
       the document that's sent out by him. And instead, you really can ask this witness,
       I think, are they essentially identical, without having to go through twice what
       they, in fact, have, especially because, if I understand it correctly, you've got the
       underlying documents in evidence. You can argue in summation from those
       documents. I'm not disagreeing with the way you're going about it, but I am
       agreeing with Mr. Weitzman that there's some unnecessary repetition, especially
       when you have the witness, who seems to understand where you're going each
       time.”
The Court later, on the same topic of exhibits and the summary charts being in evidence:
       “I also think -- this is your case -- but it seems to me a lot of this can be saved for
       summation. The jury isn't really going to remember each and every one of the
       two minute, 47 second calls and so forth and you are probably far better off, now
       that you have them in evidence, referring to them in your summation.”
TT at 2436.
Even the government, in its summation, encouraged the jury to review all of the underlying
exhibits to its summary charts when it stated:
       “The exhibits in this chart are everything you need to prove the corrupt quid pro
       quo. You’ve heard the evidence, but if you want to see it again, you can write
       down the number of this chart and then look at every exhibit in it that you want.”
TT at 6401.
If we are to presume anything, especially of this jury, it is that it reviewed all of the evidence.2
After all what else should we presume they were doing for more than two days while
deliberating?
Mr. Daibes was entitled to a jury that fairly decided his case based solely on the evidence
presented at trial. The jury was improperly provided with an extremely inflammatory and
prejudicial exhibit that deprived him of that right. It is hard to conceive of a human being in
modern times more universally abhorred than Adolf Hitler. Any jury, hypothetical or not, seeing
an unredacted version of Government Exhibit 3D-1 would be prejudiced against Mr. Daibes
which was precisely why the government agreed to and did redact that portion of the exhibit that
was admitted at trial. The fact that the error was inadvertent is unfortunate for the government,

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  Even the Court commented during trial about how conscientious it seemed this jury was. Not only was
the jury generally timely during ten weeks of trial, but a majority of the jurors appeared to be fully
engaged during the presentation of evidence. See TT at 7052 (“And I want to tell you, as I have said
before, you, as a jury, have been, from outward appearances, very attentive to the witnesses and the
testimony here.”)


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       Case 1:23-cr-00490-SHS           Document 644         Filed 11/27/24      Page 4 of 5




but this Court should conclude that it was a critical and costly mistake and order Mr. Daibes’
convictions vacated and he be afforded a new trial.
II.    The Nine Exhibits Identified in the Govt’s 11/13 Letter Also Prejudiced Mr. Daibes
As noted above, we join in all of the arguments of Senator Menendez and Mr. Hana regarding
the portions of the nine exhibits improperly loaded by the government onto the laptop provided
to the jury. For all the reasons articulated by Senator Menendez and Mr. Hana, the inclusion of
the excluded portions of the exhibits precluded by this Court’s Speech and Debate ruling warrant
a new trial for all defendants. The inclusion of those exhibits not only prejudiced the Senator,
but in this conspiracy case, prejudiced Mr. Daibes. After all, in arguing for reconsideration of
the Court’s prior ruling, the government noted how “critical” the excluded evidence was to
establish the bribery conspiracy relating to Egypt in which Mr. Daibes was charged and
convicted. Unfortunately for the government, the import of the evidence to the trial jury cannot
be ascertained and to ensure that Mr. Daibes was afforded a fair trial in which the jury
considered only the admitted evidence, a new trial is required.
III.   By Checking Exhibit Numbers Against the File Names of the Exhibits Loaded Onto
       the Jury’s Laptop, Mr. Daibes Did Not Waive Any Arguments Regarding the
       Exhibits Improperly Provided to the Jury
The government’s argument that the defendants somehow waived any claims regarding the
evidence improperly loaded by the government onto to the jury’s laptop should be summarily
rejected by the Court. Yes, each defendant was tasked with reviewing the government laptop
loaded with all of the government’s exhibits as well as the defense exhibits that was to be
provided to the jury for its deliberations. However, that task was limited to cross-checking to
ensure that no exhibits admitted at trial were inadvertently left off and, conversely, whether any
exhibits not admitted by the Court were appropriately excluded from the laptop, the latter of
which Mr. Daibes’ team did in fact identify a small number of. The admitted government’s
exhibits numbered close to 3,000, however, they consisted of multiples of that in pages. Neither
the government nor the defense were tasked with reviewing each of those pages to ensure that
the appropriate versions of the exhibits were provided to the jury. As the Court implored the
parties to do several times during trial, the parties worked together to ensure that the jury could
review the admitted evidence, nothing more. All counsel are officers of the Court, and each
party must presume that the others will execute their duties faithfully. Here, the defense
presumed that the government and co-defendant’s counsel would only provide the admitted
exhibits to be included on the jury’s laptop. All the parties missed that these improper portions of
the exhibits were included. Holding it against the defendants would be unfair and is not
appropriate under the governing caselaw.3


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  Our co-counsel effectively distinguish the cases cited by the government in support of its waiver
argument. We will not repeat those arguments here. As noted by our co-counsel, none of the cases cited
by the government involve the complexity and sheer volume of material with which the parties had to
compile and cross-check in this case. None of the government-cited cases involve checking thousands of
exhibits that contained many thousands of pages. And none of the cases hold that the defense was
required to review each page and line of the thousands of exhibits or risk waiver. In the government’s



                                                  4
        Case 1:23-cr-00490-SHS             Document 644          Filed 11/27/24        Page 5 of 5




IV.     Conclusion
For all the foregoing reasons, this Court should vacate Mr. Daibes’ convictions and order a new
trial because the jury’s receipt of evidence not admitted during trial deprived Mr. Daibes of due
process and a fair trial.


Respectfully submitted,

        /s/
César de Castro
Shannon McManus
Seth Agata
Valerie Gotlib



cc:     All Counsel (via ECF)




view, to ensure Mr. Daibes received a fair trial, the Court should start with and make all presumptions
against a finding of prejudice – it should presume that the exhibits were not critical to its case (in direct
contradiction to its arguments for the exhibits’ admission), not reviewed by the jury anyway, and because
the defense performed the non-substantive confirmation that each of the government’s cited exhibit
numbers were in fact admitted and not whether the government violated the Court’s directives and
included portions of exhibits excluded by the Court, we have waived any claims.



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